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                                 138735



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________

This Document Relates to Plaintiff:

Theo Brannon
Civil Case No. 1:16-cv-01063-RLY-TAB
__________________________________________

               ORDER ON MOTION TO SUBSTITUTE PARTY PLAINTIFF


        The Court has considered the Plaintiff’s Motion to Substitute Party Plaintiff, and the

Court, being duly advised in the premises, now GRANTS said motion. [Filing No. 24540.]

        IT IS THEREFORE ORDERED that James Michael Morgan, on behalf of the Estate

of Theo Brannon, is substituted as Plaintiff in the above referenced action.

       Date: 7/12/2023
                                                 _______________________________
                                                  Tim A. Baker
                                                  United States Magistrate Judge
                                                  Southern District of Indiana


 Distribution to all registered counsel of record via CM/ECF
